                        EXHIBIT 2




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From:                                  Kathy Klein
Sent:                                  Thursday, February 22, 2024 5:47 PM
To:                                    Robert MacGill; Matt Pietsch
Cc:                                    Adam Brody; Alex Otchy; Besen, Gene; Bundren, Brandon; Callas, Gretchen; Gino
                                       Marchetti; John Jacobson; Nokes, Scarlett; Patrick Sanders; Scott Klein; Scott Murray;
                                       Steve Mintz; Terence McCormick; Thomas J. Hurney, Jr. - Jackson Kelly PLLC
                                       (thurney@jacksonkelly.com)
Subject:                               RE: Case Management Order Extension (Identify and Disclose Expert. Witnesses and
                                       Reports)


Rob:

Guidepost will agree to your request for an extension of Plaintiff’s expert report from February 23, 2024 to March 29,
2024 on the condition that Plaintiff agrees to move all other corresponding dates from the most recent scheduling Order
(Dkt. 112).

The new dates (based upon the same timeline of days from the prior Order) that the parties consent to are as follows:
(1) the March 22, 2024 deadline for fact discovery is extended to April 19, 2024, (2) the time to depose all fact witnesses
is extended from March 22, 2024 to April 19, 2024, (3) the March 22, 2024 deadline for parties to file discovery motions
is extended to April 19, 2024, (4) the deadline for the party not bearing burden of proof to identify and disclose expert
reports is extended from March 29, 2024 to May 3, 2024, (5) expert deposition deadline is extended from April 26, 2024
to May 24, 2024, and (6) dispositive motions are extended from June 7, 2024 to July 19, 2024.

Please advise if you agree with moving all the deadlines as set forth above, and, if so, we consent to your request on that
condition. For sake of clarity, if you do not agree to move the other corresponding deadlines as set forth above,
Guidepost does not consent to your request.

Kathy




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